     Case 21-40834-drd11         Doc 381 Filed 03/04/22 Entered 03/04/22 15:57:18                 Desc
                                   Main Document     Page 1 of 5

                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION
In Re:     INTERSTATE UNDERGROUND                          ) Case No. 21-40834-DRD-11
           WAREHOUSE AND INDUSTRIAL                        )
           PARK, INC.                                      ) Chapter 11
                        Debtor                             )

         OBJECTION BY CREDITOR WAYNE REEDER TO DEBTOR’S DISCLOSURE
                       STATEMENT AND CHAPTER 11 PLAN
             (CHAPTER 11 PLAN AND FIRST AMENDED CHAPTER 11 PLAN)

         COMES NOW Creditor Wayne Reeder (“Reeder”), by and through counsel, and hereby objects
to the Debtor’s Disclosure Statement (Doc. #325), Chapter 11 Plan (Doc. #324), and the First Amended
Chapter 11 Plan (Doc. #369). For his objection, Reeder states as follows:


1.       Reeder incorporates the objections raised by the Office of the United States Trustee in its
objection (Doc. #378).


2.       Reeder further objects to the documents for the following additional reasons:


         a. The Disclosure Statement


         The Disclosure Statement provides scant details about the business operations of the Debtor.
The Disclosure Statement fails to disclose the claims Reeder asserted in the Circuit Court of Jackson
County, Missouri pre-petition against the Debtor and the Debtor’s principals. It also fails to
acknowledge that Reeder was de facto operator of the Debtor from 1993-March 2020, notwithstanding
the terms of Reeder’s divorce from Sammy Jo Reeder and Reeder’s departure as an official officer and
director. Reeder in his capacity took steps including solicitation of bids for new infrastructure as well as
preparations for income tax filings for the Debtor for the tax years 2018 and 2019 that have not been
used or incorporated. The Debtor elected not to use these returns prepared for a CPA that had worked
with the Debtor since the late 1970s.




                                                                                                           1
    Case 21-40834-drd11          Doc 381 Filed 03/04/22 Entered 03/04/22 15:57:18                  Desc
                                   Main Document     Page 2 of 5

       The Disclosure Statement also references the need for a new freezer system. However, the
Disclosure Statement fails to explain why – outside of the projected $40,000 per month the Debtor
projects to spend on freezer repair. The freezer is a critical component of any viable business moving
forward because the new refrigeration system uses ammonia, rather than freon (or R-22). As of January
2020, freon is banned from production and import (see, e.g.,
https://www.epa.gov/sites/default/files/2015-
07/documents/phasing_out_hcfc_refrigerants_to_protect_the_ozone_layer.pdf, accessed 3/4/2022).
There are environmental costs as well as significant potential regulatory concerns to operating a freon-
based refrigeration system, and these costs would be tremendous and are unaccounted for if any
violations are discovered. Therefore, one of two things will happen: (1) the Debtor will need to borrow
more money to retrofit the system or (2) the Disclosure Statement and Plan severely underestimate the
costs to obtain freon.


       Further, the need for the refrigeration upgrade is significant because the Debtor’s plan relies on
refinancing within a year (or, failing that, a balloon plan after 3 years). As a practical matter, a lender
who performs a through inspection would be unlikely to lend to a company without the means to
proceed with legal and cost-effective refrigeration. As a going concern, a business that relies on a
system for nearly half of its monthly income is a high risk if the system is outdated and the Debtor is
disinterested in investing in modernization.


       The Disclosure Statement references a quote for an upgrade of the freezer system and electrical
system, yet fails to identify an amount or any financing terms. Mr. Reeder, on behalf of the Debtor,
obtained a quote for this work in January 2019. At the time, notwithstanding 3 years of further
deterioration and the challenges of finding labor and materials during the COVID-19 pandemic, the
quote for the work, exclusive of freight and tax, exceeded over $2.6 million, with 30% due on
equipment. However, the costs have increased. A quote prepared by the same company for Leslie
Reeder in June 2020 (attached) came back at a higher amount.


       Excluding taxes and numerous other potential costs, the bid calls for at least $3,400,000, with
$1,36 million as a down payment (attachment, P. 5 of 9). The total overall costs (including the excluded
items) could range from $5 million to $7 million, The Debtor does not propose to fund these repairs and
instead suggest spending over $2.6 million for “Repairs Freeze” (Doc 325-1, Exhibit A projections).


                                                                                                              2
    Case 21-40834-drd11         Doc 381 Filed 03/04/22 Entered 03/04/22 15:57:18                 Desc
                                  Main Document     Page 3 of 5

This is not the strategy of a company that is looking to operate long term, but one that is looking to drain
its remaining cash and assets and ultimately liquidate. In short, the Debtor has lacked the cash flow
necessary to commit to this project and, based on the cash flow projections submitted, will continue to
do so for the foreseeable future.


       Finally, without completed income tax returns for the years 2018-2020, creditors are unable to
determine if the cash flow projections submitted are realistic and feasible, with or without a new freezer.
At a minimum, the Debtor should bring itself current on its severely delinquent obligation to file tax
returns before asking this Court to confirm a plan of Reorganization based on speculation. Reeder has
concerns about potential tax consequence in the future when losses generated by LLCs in which the
Debtor holds interests are no longer available as shelters to offset income. Without accurate financials
and time to review them, creditors cannot possibly rely on the representations of 5 year old returns and
rough outlines of current returns.


       b. Chapter 11 Plan/First Amended Chapter 11 Plan


       As to class 13 claims including Reeder’s, the treatment in both plans is substantially the same.
Both plans fail the absolute priority rule and the Debtor has not demonstrated that class 13 has accepted
the plan.


       As stated above, the problems that lie within the details of the Disclosure Statement and cash
flow projections suggest that the Debtor is unable to proceed without liquidation. Even more troubling
may be the proposed payroll. The Debtor proposes to contribute approximately $5 million to Payroll
over 2022-2026. This is not broken down and almost certainly includes payments to insiders. Leslie
Reeder is paid $7,000 per month ($3,000 biweekly) plus a living expense amount of $8,000 per month,
Sammy Jo Reeder is paid over $7,000 per month, and Stacy Reeder $3,250 per month, according to the
Interim Order Authorizing the Debtor to Pay Pretition Wages and Workforce Obligations (Doc. #35).


       Upon information and belief, neither Sammy Jo nor Stacy Reeder reside in the metropolitan
Kansas City area. In her Rule 2004 examination, Sammy Jo Reeder testified that she hasn’t been to the
Debtor’s business location in over 20 years. Neither is essential to the continued operations of the
Debtor. Furthermore, while it is understandable that the Debtor would seek to maintain its personnel


                                                                                                            3
    Case 21-40834-drd11          Doc 381 Filed 03/04/22 Entered 03/04/22 15:57:18                  Desc
                                   Main Document     Page 4 of 5

and its leadership, it should not and cannot do so at the expense of payments to unsecured creditors.
These payments to the Reeders collectively total $25,000 per month, or $1.5 million over a five year
plan. This is particularly troubling because of the proposed timetable for refinancing, upon which the
unsecured creditors would be left without recourse if the plan fails.


       The bigger concern lies with 11 U.S.C. §1129(a)(11). Even if the Debtor addresses the proof of
claim of the Internal Revenue Service and the Court sets aside the discrepancies between the Debtor’s
projected tax liability and the claimed liability, the Debtor does not have the financial capacity to
survive under its Plan. The Debtor proposes to refinance Woodmen within one year of confirmation, yet
does not detail any attempts to do so or provide any specifics. If that plan fails, the Debtor simply
prepares to maintain the status quo for three years, deferring the issue. Unfortunately, as it has done by
failing to address its refrigeration and other infrastructure, the Debtor only puts itself in a worse
financial situation by leaving its financing in question and paying premiums to struggle while failing to
address its critical needs for the future. The operators of the Debtor would, under the plan, maintain
their interests without any apparent contributions of their own, to the detriment of the unsecured
creditors. This would be true even if the Debtor had capital (which it does not propose to obtain, either
through capital contributions by its leadership or debtor-in-possession financing) to provide the upgrades
it needs to secure the refinance. This may explain why the Plan and Disclosure Statement are extremely
vague on details.


       It is simply unreasonable to assume that a lender, seeing a system that hasn’t been retrofitted, a
system that generates approximately 40% of the Debtor’s monthly revenue, to agree to a refinance
without a complete overhaul to address the freon ban and any further concerns. At a Rule 2004
examination, Leslie Reeder testified regarding the freezer that “The freezer is 50 years old, it’s in a state
of disrepair. It needs to be replaced with an ammonia brine system. It has decades of deferred
maintenance. It’s just a very, very old failing freezer (Rule 2004 exam, P. 75, Lines 13-17).
Unfortunately, the Debtor’s plan does not address this situation.




                                                                                                             4
    Case 21-40834-drd11          Doc 381 Filed 03/04/22 Entered 03/04/22 15:57:18                  Desc
                                   Main Document     Page 5 of 5

Conclusion


       Together with the conflicting financial testimony addressed by the United States Trustee, the
lack of detail and feasibility of this Plan – either in its original form or the Amended Plan filed less than
a week ago – should be sufficient for this Court to deny confirmation.


       WHEREFORE, Reeder respectfully joins the United States Trustee in its objection and requests
this court enter an order Denying confirmation of the Debtor’s Disclosure Statement, its Chapter 11 Plan
(if not withdrawn) and First Amended Chapter 11 Plan, and for any further relief deemed appropriate by
this Honorable Court.

       Dated: March 4, 2022                    Respectfully submitted,
                                               WM Law

                                               s/ Ryan A. Blay
                                               Ryan A. Blay, MO #KS001066; KS #28110
                                               15095 W. 116th St.
                                               Olathe, KS 66062
                                               Phone (913) 422-0909 / Fax (913) 428-8549
                                               blay@wagonergroup.com
                                               bankruptcy@wagonergroup.com
                                               COUNSEL FOR CREDITOR WAYNE REEDER

                                     CERTIFICATE OF SERVICE

        I hereby certify that on March 4, 2022, the foregoing Objection was served upon all parties
receiving electronic notification.

                                                       s/ Ryan A. Blay




                                                                                                                5
